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Middle District of Florida
ORLANDO Division
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Inh Case No.: 6:22-mj-02242-LHP

UNITED STATES OF AMERICA
vs.

November 11, 2022 Ae cy ooh

Date Identified: [ 2-2--3?-
Date Admitted: -o)

NOTICE

UNITED STATES DISTRICT COURT for the DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, INC. v. HOWARD B. ADAMS
case no.: 1:21-cr-00358-BAH

Title:
REJECTION OF OFFER TO CONTRACT

copy:
Angela D. Caesar, Clerk of the Court
Beryl B. Howell, Chief Judge
Michael Liebman, Assistant District Attorney
Case (2sdn}-0224260858-BOCuiie ti sreniled 224021271 4RayeRagePRagelD 14

tf Smail Howard Berton Adams, Jr. <bosdad@gmail.com>

FW: Activity in n Case 4: 24 -cr-00358- BAH USA\ Ve . ADAMS. Motion Hearing

1 message

Liebman, Michael (USADC) <Michael. Liebman@usdoj.g gov> 3? Thu, Nov 10, 2022 at 2:53 PM.
To: "Howard Berton Adams, Jr." <bosdad@gmail.com>

Cc: "charles@charleshaskell.com" <charles@charleshaskell.com>, "Brian A. comtlngy (presented, com>, "Jeremy
Ue Buckmaster” <Jeremy@berepresented.com>

Greetings, Mr. Adams.

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U.S. District Court

District of Columbia
Case (asen)-022425DBibb- Bae eeeneninagc A240212 271 4APageRageBRagelD 15
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~ HOWARD B. ADAMS

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